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                        Case No. 23-1094



      IN THE UNITED STATES COURT OF APPEALS
              FOR THE THIRD CIRCUIT


PORT HAMILTON REFINING AND TRANSPORTATION, LLLP,

                           Petitioner,

                                  v.


     U.S. ENVIRONMENTAL PROTECTION AGENCY,

                          Respondent.




U.S. ENVIRONMENTAL PROTECTION AGENCY’S RESPONSE
       TO THE COURT’S ORDER OF JANUARY 20, 2023




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      Respondent the United States Environmental Protection Agency (“EPA”)

hereby responds as follows to the Court’s Order of January 20, 2023:

      The EPA action challenged in this suit is reviewable in this Court under the

Clean Air Act’s judicial review provision at 42 U.S.C. § 7607(b)(1). The challenged

action is EPA’s final determination that Petitioner Port Hamilton Refining and

Transportation LLLP (“Port Hamilton”) is required to apply for and receive a final

and effective Prevention of Significant Deterioration (“PSD”) permit under the Clean

Air Act prior to restarting the refinery located at 1 Estate Hope, Christiansted, St.

Croix, U.S. Virgin Islands (“Refinery”) (hereafter “PSD Applicability

Determination”). This conclusion was expressed in a letter dated November 16,

2022, from Joseph Goffman, Principal Deputy Assistant Administrator of EPA’s

Office of Air and Radiation, to Julie R. Domike, Esq. and Thomas V. Eagan, Esq.

Petition, Docket No. 1-3, at 6-47.1

      As explained below, the PSD Applicability Determination at issue qualifies as a

“final action” reviewable in the courts of appeals under 42 U.S.C. § 7607(b)(1). This

Court is the proper venue because the challenged agency action relates to a facility in




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 Exhibit A to the Petition is an incomplete copy of the PSD Applicability
Determination. The complete document includes an Attachment 3 that cannot be
made public because it includes facts that the Petitioner asserts are Confidential
Business Information. See Docket No. 1-3, at 7.
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the Virgin Islands and is therefore “locally or regionally applicable” within this judicial

circuit under Section 7607(b)(1).

          Under the Supreme Court’s seminal decision in Bennett v Spear, an agency action

is final for purposes of judicial review if it both: (1) marks the consummation of the

agency’s decision making process (e.g., is not merely tentative or interlocutory); and (2)

determines rights or obligations, or is an action from which legal consequences flow.

520 U.S. 154, 177-78 (1997); see Whitman v. Am. Trucking Assoc., 531 U.S. 457, 478

(2001) (the phrase “final action” . . . bears the same meaning in § 307(b)(1) that it does

under the Administrative Procedure Act”). This Court has further identified five

“pragmatic considerations” that it considers “relevant to whether agency action is

final”:

                (1) whether the decision represents the agency’s definitive
                position on the question; (2) whether the decision has the
                status of law with the expectation of immediate compliance;
                (3) whether the decision has immediate impact on the day-to-
                day operations of the party seeking review; (4) whether the
                decision involves a pure question of law that does not require
                further factual development; and (5) whether immediate
                judicial review would speed enforcement of the relevant act.

Minard Run Oil Co. v. U.S. Forest Serv., 670 F.3d 236, 249 (3d Cir. 2011); see also Del.

Dep’t of Nat. Res. & Env’t Control v. EPA, 746 F. App’x 131, 134 (3d Cir. 2018)

(describing five factors as “analogous—but not identical” to the Supreme Court’s

two-prong test.


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       Applying the Bennett test and the factors identified by this Circuit, EPA’s PSD

Applicability Determination is final. It marks the consummation of EPA’s decision-

making process and represents EPA’s definitive position on whether Port Hamilton

must obtain a new PSD permit for the Refinery before it can restart. See Docket No.

1-3, at 6, 8. The Applicability Determination also has immediate legal consequences

for Port Hamilton. As stated in the determination, Port Hamilton “is required to

apply for an receive a final and effective PSD permit prior to restarting the Refinery

or beginning actual construction as defined in 40 CFR 52.21(b)(11).” Id. At 6. Thus,

pursuant to the Applicability Determination and EPA’s regulations, Port Hamilton

will be in violation of the Clean Air Act if it restarts the Refinery prior to obtaining a

final and effective PSD permit.

       EPA has previously recognized PSD applicability determinations to be final

actions subject to judicial review. See e.g., 65 Fed. Reg. 77623 (Dec. 12, 2000). Judicial

precedent also supports the view that PSD applicability determinations constitute

“final action.” See Hawaiian Elec. Co. v. EPA, 723 F.2d 1440, 1442 (9th Cir. 1986) (PSD

applicability determination final and reviewable); Puerto Rican Cement Co. v. EPA, 889

F.2d 292, 295-96 (1st Cir. 1989) (same). See also U.S. Army Corps of Engineers v. Hawkes,




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578 U.S. 590, 597 (2016) (holding that EPA determination that company’s property

was subject to Clean Water Act jurisdiction was final and reviewable). 2

       Thus, this Court has jurisdiction under 42 U.S.C. § 7607(b)(1).

                                          Respectfully submitted,

Dated: February 3, 2023                         /s/ Heather E. Gange
                                          HEATHER E. GANGE
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                                          Environment & Natural Resources
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  While PSD applicability determinations are not specifically enumerated in Section
7607(b)(1), the phrase “any other final action” refers to any action under the Act that
is final and that is not specifically enumerated. Harrison v. PPG Industries, 446 U.S. 578,
587-94 (1980).
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                          CERTIFICATE OF SERVICE

        I, Heather E. Gange, certify that on this 3rd day of February, 2023, I
electronically filed a true and correct copy of the foregoing through the CM/ECF
system which caused counsel for all Parties to be served by electronic means, as more
fully reflected in the Notice of Electronic Filing:


                                      /s/ Heather E. Gange
                                 Heather E. Gange
